
BOLIN, Justice
(dissenting).
Because I believe that the enactment of Alabama’s Uniform Commercial Code (“the UCC”) did not abrogate the sealed-container defense, I must respectfully dissent from the main opinion.
Section 7-2-314, Ala.Code 1975, provides:
“(1) Unless excluded or modified (Section 7-2-316), a warranty that the goods shall be merchantable is implied in a contract for their sale if the seller is a merchant with respect to goods of that kind. Under this section the serving for value of food or drink to be consumed either on the premises or elsewhere is a sale.
“(2) Goods to be merchantable must be at least such as:
“(a) Pass without objection in the trade under the contract description; and
“(b) In the case of fungible goods, are of fair average quality within the description; and
“(c) Are fit for the ordinary purposes for which such goods are used; and
“(d) Run, within the variations permitted by the agreement, of even kind, quality and quantity within each unit and among all units involved; and
*497“(e) Are adequately contained, packaged, and labeled as the agreement may require; and
“(f) Conform to the promises or affirmations of fact made on the container or label if any.”
Section 7-2-315, Ala.Code 1975, provides:
“Where the seller at the time of contracting has reason to know any particular purpose for which the goods are required and that the buyer is relying on the seller’s skill or judgment to select or furnish suitable goods, there is unless excluded or modified under Section 7-2-316 an implied warranty that the goods shall be fit for such purpose.”
It is clear under Alabama law that in order to establish a breach-of-an-implied-warranty claim, a plaintiff must prove that the breach was the proximate cause of the plaintiffs injury. See Cain v. Sheraton Perimeter Park South Hotel, 592 So.2d 218, 221 (Ala.1991) (“Under both the [Alabama Extended Manufacturer’s Liability Doctrine] and § 7-2-314, the defect or lack of merchantability, of course, must be proved to have been the proximate cause of the plaintiffs injuries.”); Ex parte General Motors Corp., 769 So.2d 903 (Ala.1999); Rose v. General Motors Corp., 323 F.Supp.2d 1244 (N.D.Ala.2004); and Chase v. Kawasaki Motors Corp., U.S.A., 140 F.Supp.2d 1280, 1289 (M.D.Ala.2001) (“In an action for breach of the implied warranty of fitness for a particular purpose, the Plaintiffs must prove: (1) the existence of the implied warranty; (2) breach of the implied warranty; and (3) damages proximately resulting from that breach. Barrington Corp. v. Patrick Lumber Co., Inc., 447 So.2d 785, 787 (Ala.Civ.App.1984).”).
Alabama has historically adhered to the common-law sealed-container doctrine as a defense to the element of causation. The sealed-container doctrine was first established in this state in Dothan Chero-Cola Bottling Co. v. Weeks, 16 Ala.App. 639, 80 So. 734 (1918). In Weeks, the plaintiff sued the manufacturer of a bottled soda after ingesting the tainted contents of the bottle and was awarded $10 in damages. The defendant argued that the plaintiffs complaint sounded in tort and, therefore, that the plaintiff was allowed to recover no more costs than damages pursuant to § 3663 of the 1907 Code. In affirming the judgment, the Court of Appeals stated:
“It is a well-settled rule of law that where a manufacturer sells articles of his own make in the absence of an express warranty, a warranty by implication of law arises that such articles are reasonably fit for the purposes for which they were intended. So in the absence of an express warranty the law implies that the manufacturer or packer of foods, beverages, drugs, condiments, and confections intended for human consumption warrants that their products are fit for human consumption, and that they have used in the selection and preparation of such articles that degree of care ordinarily exercised by persons skilled in the business of preparing and packing articles of this character for distribution or sale to the general public.
“This warranty is not for the benefit of the retailer who purchases in large quantities for resale, and such retailer is not liable to the consumer of articles of the character here involved, if he purchases of a reputable manufacturer or dealer, and the goods so purchased and supplied by him are such as are without imperfections that may be discovered by the exercise of the reasonable care of a person skilled and experienced in dealing in and supplying goods to the general public. ‘As to hidden imperfections, the consumer must be deemed to have relied on the care of the packer or manufacturer or the warranty which is held *498to be implied by the latter.’ 29 R.C.L. p. 1124, § 29. This warranty is raised by implication of law, for the benefit and protection of the consumer, regardless of the absence of express contractual relations between parties, and is enforceable by contract remedies....
“The second count of the complaint clearly states facts from which the law would imply a warranty as between the defendant and the plaintiff that the contents of the bottle of Chero-Cola were fit for human consumption, and that the defendant had used, in the selection and preparation of this drink, that degree of care ordinarily exercised by persons skilled in the business of preparing such drinks for distribution and sale to the public, and further states facts showing a breach of such warranty. We therefore hold that the complaint, when liberally construed to support the judgment, states a cause of action ex contractu, and is in assumpsit for a breach of implied warranty, and under the provisions of section 3662 of the Code as amended, the court was invested with a discretion in the taxation of costs according to the equities of the case.”
Weeks, 16 Ala.App. at 640, 80 So. at 735 (citations omitted).
In Kirkland v. Great Atlantic &amp; Pacific Tea Co., 233 Ala. 404, 171 So. 735 (1936), this Court applied the sealed-container doctrine to a retail transaction. In Kirkland, the plaintiff purchased from the defendant, a retail grocer, a bag of flour that was tainted with arsenic. The plaintiff was injured after ingesting the flour and sued the defendant, asserting a claim of negligence.6 Nothing in the plaintiffs complaint alleged that the defendant had manufactured or sacked the flour; that the
arsenic found its way into the flour while the flour was in the defendant’s possession; or that the defendant had notice or should have had notice that the sack of flour was tainted with arsenic. The trial court entered a judgment of nonsuit against the plaintiff. Kirkland, supra.
In affirming the judgment in favor of the defendant, this Court stated:
“In Dothan Chero-Cola Bottling Co. et al. v. Weeks, 16 AlaApp. 639, 640, 80 So. 734, 735 [ (1918) ], speaking of bottled soft drinks, it was said: ‘Such retailer is not liable to the consumer of articles of the character here involved, if he purchases of a reputable manufacturer or dealer, and the goods so purchased and supplied by him are such as are without imperfections that may be discovered by the exercise of the reasonable care of a person skilled and experienced in dealing in and supplying goods to the general public. Bigelow v. Maine Central R.R. Co., 110 Me. 105, 85 A. 396, 43 L.R.A. (N.S.) 627 [ (1912) ]; Winsor v. Lombard, 18 Pick. ([35] Mass.) 57 [ (1836) ]. “As to hidden imperfections, the consumer must be deemed to have relied on the care of the packer or manufacturer or the warranty which is held to be implied by the latter.” 29 R.C.L. p.q 1124, § 29.’
“This case has been disapproved on another point, but not as to the above statement. Birmingham Chero-Cola Bottling Co. v. Clark, [205 Ala. 678, 89 So. 64 (1921) ]. We deem this announcement in keeping with the better reason and the trend of modern authority on the subject....
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“In this day the grocer’s stock consists in much of canned goods, goods in *499bottles, cartons, sacks, packages of great variety, put up under pure food regulations, and sold at retail in the unopened package. In common reason the grocer could not inspect the contents of every sack of flour he handles. No one expects him to do so. To impose a legal duty so to do is too exacting. The legal responsibility should rest where it belongs, on him who made the package and inclosed poisonous substances therein. In the absence of some averment disclosing that the poison found its way into the sack of flour here involved while under the control of the retailer, or some fact charging him with lack of care in selecting and selling that particular flour, the complaint was subject to demurrer.”
Kirkland, 233 Ala. at 406-07, 171 So. at 737.
This Court, in Bradford v. Moore Brothers Feed &amp; Grocery, 268 Ala. 217, 105 So.2d 825 (1958), reaffirmed the application of the sealed-container doctrine to claims asserting a breach of implied warranties against retail sellers arising under the Uniform Sales Act. In Bradford, the plaintiff purchased from the defendant sacks of “cow feed” that were infested with mold. The defendant, a retailer in commercial feed, sold the feed in original, unopened sacks that had been packed by the manufacturer. The plaintiff sued the defendant, alleging a breach of an implied warranty, and the trial court entered a directed verdict in favor of the defendant. Relying upon Weeks, supra, and Kirkland, supra, the defendant argued on appeal that the plaintiff could not state a cause of action for breach of an implied warranty because a retail seller of commercial feed sold the feed to the plaintiff in original, unopened sacks that were packed by the manufacturer. This Court stated the following with regard to the sealed-container doctrine:
“It is true that the two cases cited [Weeks and Kirkland ] are authority for the proposition that the retailer who purchases in large quantities for resale is not liable to the consumer of articles of food for human consumption, if he purchases of a reputable manufacturer or dealer, and the goods so purchased and supplied by him are such as are without imperfections that may be discovered by the exercise of the reasonable care of a person skilled and experienced in dealing in and supplying goods to the general public. Cf. Lollar v. Jones, 229 Ala. 329, 157 So. 209 [ (1934) ]. We may note here that both cases make the rule expressly applicable only to cases involving food intended for human consumption. But we may assume for the purposes of this case, without deciding, that the principle is equally effective with regard to feed sold for the subsistence of livestock and other domestic animals. It would seem that this should be so a fortiori. At least it has been so applied in other jurisdictions ....
“It may be added that the general rule stated has neither been overruled nor modified in this state, although the trend is to a more liberal rule in other jurisdictions placing an implied warranty upon the retail sale of packaged items as well as those not packaged. The trend has apparently received especial impetus since the almost universal adoption of the Uniform Sales Acts. See the notes at 90 A.L.R. 1269 and 142 A.L.R. 1434. The adoption of the Uniform Sales Act in Alabama (Code 1940, Title 57, §§ 1-76) has worked no change of the general rule. The reaffirmation of the rule in the Kirkland case, supra, occurred in 1936, several years subsequent to the passage of the Act in this state, and the court in that case expressed their cogni*500zance of the Act but dealt with the case without reference thereto. This position is consistent with the view stated by this Court and generally recognized most everywhere that § 21 of the Uniform Sales Act is only declarative of the common law. McCarley v. Wood Drugs, Inc., 228 Ala. 226, 153 So. 446 [ (1934) ], 77 C.J.S. Sales § 329, p. 1186.
“The general rule to which recognition is given above, would require an affir-mance were it not for the facts present here which we feel should be treated as within an exception to the rule. Here the retailer handled, stored, or treated the goods in a manner which would tend to alter the original condition of the goods as they were produced by the manufacturer and the clear inference arises that the retailer had actual or constructive notice of the defective status of the goods. The Kirkland case, supra [233 Ala. 404, 171 So. at 736], recognized such a status to be an exception to the general rule where it was observed:
“'The complaint does not charge that defendant manufactured or sacked this flour; nor that the poison found its way into the flour while in defendant’s possession; nor that anything on the sack, nor the source from which it came, gave notiee to the retailer, or put him on inquiry touching its fitness for human consumption. For aught appearing, this was an ordinary sack of flour, put up by reliable millers, to be sold by the retailer intact, for the convenience of both merchant and customer.’
“And again:
“Tn the absence of some averment disclosing that the poison found its way into the sack of flour here involved while under the control of the retailer, or some fact charging him with lack of care in selecting and selling that particular flour, the complaint was subject to demurrer.’ ”
Bradford, 268 Ala. at 219-20, 105 So.2d at 827-28. In reversing the judgment of the trial court, this Court concluded that evidence was presented that created a question of fact as to whether the buyer could rely on the implied warranty in the sale of the feed based on the defendant’s having a superior knowledge of the condition of the feed or a better opportunity for inspection of the feed, which might have given the defendant actual or constructive notice of some defect in the feed pertaining to its merchantability or fitness for a particular purpose. Bradford, supra.
In Allen v. Delchamps, Inc., 624 So.2d 1065 (Ala.1993), a case decided after the enactment of the UCC, the lack of a distinct line between tort claims and claims asserting a breach of an implied warranty in tainted-food-product cases was never more evident. In Allen the plaintiff purchased from the defendant grocery store two bags of celery hearts that had been prepackaged in cellophane wrapping by the defendant’s supplier. The defendant had inspected samples of the celery at its warehouse for freshness and quality. The plaintiff ingested a piece of the raw celery and had an immediate allergic anaphylactic reaction. It was later determined that the celery contained sodium bisulfate, which the plaintiff, an asthmatic, was sensitive to.
The plaintiff sued the defendant, among others, asserting causes of action based on negligence and wantonness, the Alabama Extended Manufacturer’s Liability Doctrine (“AEMLD”), and breach of the implied warranty of merchantability under § 7-2-314, Ala.Code 1975. The trial court entered a summary judgment in favor of the defendant as to all the plaintiffs claims. Allen, supra.
*501This Court stated the following relative to the principles applicable to tort claims and breach-of-implied-warranty claims in tainted-food-product cases:
“In regard to their AEMLD claim, the plaintiffs must prove that Mrs. Allen ‘suffered injury or damages to [herself] or [her] property by one who sold a product in a defective condition unreasonably dangerous to the plaintiff as the ultimate user or consumer.’ Atkins v. American Motors Corp., 335 So.2d 134, 141 (Ala.1976). Similarly, the plaintiffs’ implied warranty of merchantability claim requires that the plaintiffs show that the goods were unmerchantable or unfit for the ordinary purposes for which they are used. Ala.Code 1975, § 7-2-314. These two standards ‘go hand-in-hand,’ at least as applied to food products, ‘for it is apparent that a food product is defective or unreasonably dangerous if it is unmerchantable or unfit for human consumption.’ Cain v. Sheraton Perimeter Park S. Hotel, 592 So.2d 218, 220 (Ala.1991) (quoting Ex parte Morrison’s Cafeteria of Montgomery, Inc., 431 So.2d 975, 977 (Ala.1983)).
“This Court has adopted the ‘reasonable expectations’ test for determining if food is unmerchantable or unreasonably dangerous. Cain, 592 So.2d at 221; Morrison’s, 431 So.2d at 978. Under this test, the pivotal issue is what is reasonably expected by the consumer in the food as served, and the ‘[njaturalness of the substance to any ingredients in the food served is important only in determining whether the consumer may reasonably expect to find such substance in the particular type of dish or style of food served.’ Morrison’s, 431 So.2d at 978 (quoting Zabner v. Howard Johnson’s, Inc., 201 So.2d 824, 826 (Fla.Dist.Ct.App.1967)). Because the terms ‘defect,’ ‘unreasonably dangerous,’ and ‘merchantable’ all focus on the expectations of the consumer, this Court has found the reasonable expectations test to be compatible with both the AEMLD and the implied warranty of merchantability. Cain, 592 So.2d at 221.”
Allen, 624 So.2d at 1068.
This Court reversed the summary judgment in favor of the defendant on the plaintiffs’ AEMLD claim,7 stating:
“Delchamps asserts that this case is different from Cain because in Cain the summary judgment on the AEMLD claim was based on the trial court’s finding that the AEMLD did not apply, whereas in this case, Delchamps says, the summary judgment on the AEMLD claim was based on evidence establishing a lack of causal relation. To establish the defense of a lack of causal relation, the defendant may show ‘that there is no causal relation in fact between his activities in connection with handling the product and its defective condition.’ Atkins v. American Motors Corp., 335 So.2d 134, 143 (Ala.1976). One way to establish this lack of a causal relation is for the defendant to show:
“ ‘[T]hat he is in the business of either distributing or processing for distribution finished products; he received a product already in a defective condition; he did not contribute to this defective condition; he had neither knowledge of the defective condition, nor an opportunity to inspect the product which was superior to the knowledge or opportunity of the consumer.’

“Id.

*502“While Delchamps showed that it is in the business of distributing finished products, that it received a product already in a defective condition, and that it did not contribute to the defective condition, it, nevertheless, did not show conclusively that it did not possess an ‘opportunity to inspect the product which was superior to the knowledge or opportunity of the consumer.’ Id. The plaintiffs showed that Delchamps did inspect for freshness and quality and did have procedures for requiring its suppliers to certify compliance with other regulations regarding insecticides and pesticides. Whether Delchamps’s opportunity to discover or to know of the defect is superior to that of the consumer is a genuine issue of material fact; therefore, the court erroneously entered the summary judgment as to the AEMLD claim. Delchamps is entitled to present evidence and to argue that there was no causal relation between what it did or failed to do and Mrs. Allen’s injuries, but it must do so to the factfinder.”
Allen, 624 So.2d at 1068-69. Thus, this Court did not reject the sealed-container doctrine as a defense to the element of causation; rather, it determined that the defendant had failed to present evidence establishing that defense as a matter of law.
It is clear that the sealed-container doctrine was available to retailers of food products at common law and under the Uniform Sales Act, the predecessor to the UCC, as a defense to causation in both claims sounding in tort and those asserting a breach of an implied warranty. The question is whether that defense is still available to retail sellers of food products following the enactment of the UCC.
As the federal district court noted in its certification order to this Court, the enactment of the UCC replaced the warranty provisions of the Uniform Sales Act (and presumably those of the common law). See the Official Comment to § 7-2-314, Ala.Code 1975, stating as “[cjhanges” that § 15(2) of the Uniform Sales Act was “[cjompletely rewritten”; and the Official Comment to § 7-2-315, Ala.Code 1975, stating that §§ 15(1), (4), and (5) of the Uniform Sales Act had been “[rjewritten.” Section 7-l-103(b), Ala.Code 1975, provides that “[ujnless displaced by the particular provisions of this title, the principles of law and equity, including the law merchant and the law relative to capacity to contract, principal and agent, estoppel, fraud, misrepresentation, duress, coercion, mistake, bankruptcy, and other validating or invalidating cause supplement its provisions.” Further,
“[t]he Uniform Commercial Code was drafted against the backdrop of existing bodies of law, including the common law and equity, and relies on those bodies of law to supplement its provisions in many important ways. At the same time, the Uniform Commercial Code is the primary source of commercial law rules in areas that it governs, and its rules represent choices made by its drafters and the enacting legislatures about the appropriate policies to be furthered in the transactions it covers. Therefore, while principles of common law and equity may supplement provisions of the Uniform Commercial Code, they may not be used to supplant its provisions, or the purposes and policies those provisions reflect, unless a specific provision of the Uniform Commercial Code provides otherwise. In the absence of such a provision, the Uniform Commercial Code preempts principles of common law and equity that are inconsistent with either its provisions or its purposes and policies.”
*503Official Comment to § 7-1-103, Ala.Code 1975. “Under § 7-1-103, prior existing law supplements the various code sections ‘unless displaced by the particular provisions of this title.’ It is clear from this that if the particular code provisions do displace prior law, the code prevails.” Toomey Equip. Co. v. Commercial Credit Equip. Corp., 386 So.2d 1155, 1159 (Ala.Civ.App.1980). In other words, the UCC is to be supplemented by the existing principles of law and equity if no precise provision of the UCC applicable to the issues presented contradicts those principles. See H.C. Schmieding Produce Co. v. Cagle, 529 So.2d 243 (Ala.1988).
Nothing in the express provisions of §§ 7-2-314 and -315 indicate that previously accepted defenses were abrogated by the enactment of the UCC. Nor have the plaintiffs directed this Court to any other provision of the UCC that supplants the defenses available at common law. In fact, it appears from the Official Comment to § 7-2-314 that common-law defenses to causation were affirmatively left intact by the legislature when the UCC was enacted. The Official Comment to § 7-2-314 states:
“In an action based on breach of warranty, it is of course necessary to show not only the existence of the warranty but the fact that the warranty was broken and that the breach of the warranty was the proximate cause of the loss sustained. In such an action an affirmative showing by the seller that the loss resulted from some action or event following his own delivery of the goods can operate as a defense. Equally, evidence indicating that the seller exercised care in the manufacture, processing or selection of the goods is relevant to the issue of whether the warranty was in fact broken. Action by the buyer following an examination of the goods which ought to have indicated the defect complained of can be shown as matter bearing on whether the breach itself was the cause of the injury.”
Additionally, I note that because causation is an element of a breach of an implied warranty, the abrogation of the defenses available to retail defendants as to that element would have the effect of making the retail defendant strictly liable and the insurer of the goods it sells. The idea of making a retailer the insurer of the goods it sells has been rejected by this Court. See Ex parte Morrison’s Cafeteria of Montgomery, Inc., 431 So.2d 975, 979 (Ala.1983) (“Courts cannot and must not ignore the common experience of life and allow rules to develop that would make sellers of food or other consumer goods insurers of the products they sell.”); Atkins v. American Motors Corp., 335 So.2d 134, 142 (Ala.1976) (rejecting the idea of strict liability under the AEMLD and stating “that defendants who are ordinarily engaged in the business of marketing products should be liable for the foreseeable harm proximately resulting from defective conditions in the products which make them unreasonably dangerous”).
Accordingly, I would hold that the sealed-container doctrine as stated in Kirkland, supra, and Bradford, supra, is available as a defense to the retail seller of food products in claims asserting a breach of an implied warranty under the UCC.
STUART, SMITH, and SHAW, JJ., concur.

. This Court specifically noted in Kirkland that the plaintiff had not asserted a claim under the Uniform Sales Act, the predecessor to the UCC.


. The defendant grocery store apparently failed to argue the sealed-container doctrine as a defense to the plaintiffs’ claim alleging breach of implied warranty because the summary judgment as to that claim was reversed on other grounds.

